                Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 1 of 10



1

2

3

4

5

6

7

8

9                             UNITED STATES DISTRICT COURT

10                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11
     GREGORY L. HITCHCOCK,                          AT LAW AND IN ADMIRALTY
12
                          Plaintiff,
13
                                                    Case No.:
14
           v.

15   BERING STAR, LLC,
                                                    COMPLAINT FOR MARITIME
16                        Defendant.                PERSONAL INJURIES
17
                                                    JURY DEMAND
18

19         Plaintiff Gregory L. Hitchcock (“Plaintiff” or “Mr. Hitchcock”), by and through
20
     the undersigned counsel, alleges as follows:
21
                                   GENERAL ALLEGATIONS
22

23         1.      Plaintiff brings this action pursuant to the provisions of 28 U.S.C. § 1916
24   without prepayment of fees and costs and without deposit of security therefor.
25
           2.       At all times material hereto, Mr. Hitchcock was a resident of Whatcom
26

27
     County, Washington.

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                     ANDERSON CAREY
     CASE NO:                                                   WILLIAMS & NEIDZWSKI
     PAGE - 1                                                    21 Bellwether Way, Suite 104
                                                                Bellingham, Washington 98225
                                                             (360) 671-6711 - Fax (360) 647-2943
                 Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 2 of 10



1           3.       At all times material hereto, defendant Bering Star, LLC (“Defendant”),
2
     was and is a Washington limited liability company doing business in Washington with its
3
     principal place of business located at 5470 Shilshole Avenue NW, Suite 520, Seattle,
4

5    Washington.
6
            4.       At all times material hereto, the F/V BERING STAR (O.N. 593310)
7
     (“BERING STAR” or the “vessel”) was and is an American flag fishing vessel operating
8

9    upon the navigable waters of the United States, the high seas, and the territorial waters of
10
     Washington and Alaska.
11
            5.       At all times material hereto, Bering Star, LLC, owned the BERING STAR.
12

13          6.       At all times material hereto, defendant Bering Star, LLC, manned,

14   operated, maintained and controlled the BERING STAR.
15
            7.       At all times material hereto, Plaintiff was under the employ of Defendant,
16

17
     performing maritime employment on the BERING STAR.

18          8.       Defendant employed Plaintiff to serve aboard the BERING STAR from
19
     2015 through 2020. During those years, Plaintiff worked aboard the BERING STAR
20
     when it tendered in Prince William Sound, Alaska, for the summer salmon season.
21

22   Plaintiff also served aboard the vessel when undergoing shipyard work in Seattle,
23
     Washington, every other spring before the vessel headed to Alaska to tender.
24
            9.       On or about May 31, 2020, Plaintiff was working aboard the vessel while
25

26   docked on the navigable waters of Salmon Bay in Seattle. On that date, the vessel’s

27   captain dropped an approximately four hundred pound oil drum, which was improperly
28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                     ANDERSON CAREY
     CASE NO:                                                   WILLIAMS & NEIDZWSKI
     PAGE - 2                                                     21 Bellwether Way, Suite 104
                                                                 Bellingham, Washington 98225
                                                              (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 3 of 10



1    rigged to the vessel’s crane, onto Mr. Hitchcock, crushing his neck and back like an
2
     accordion.
3

4
                                        FIRST CLAIM:
                                    JONES ACT NEGLIGENCE
5
            10.    Plaintiff realleges and incorporates herein by reference paragraphs 1
6

7    through 9 set forth above.
8
            11.    This claim arises under 46 U.S.C. § 30104, commonly known as the Jones
9
     Act. Jurisdiction is conferred upon this Court by the provisions of that statute. Under the
10

11   Jones Act, Defendant owed Plaintiff a high duty of care.

12          12.    At all times material, Defendant employed Plaintiff to serve as a member of
13
     the crew, deckhand and cook, in the service of the BERING STAR on the navigable
14

15
     waters of the United States.

16          13.    On or about May 31, 2020, while Plaintiff was engaged in the course of his
17
     duties as a seaman in the service of the BERING STAR, Defendant was negligent, as
18
     were its officers, agents, employees and all persons acting on its behalf, among other
19

20   things, in:
21
                   a.     Causing, allowing, and permitting the said vessel and her
22                        appurtenances to be operated in such a manner as to unreasonably
                          endanger Plaintiff’s safety;
23

24                 b.     Causing, allowing, and permitting the vessel and her
                          appurtenances to be in a dangerous, defective and hazardous
25                        condition;
26
                   c.     Failing to warn Plaintiff of impending dangers;
27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                     ANDERSON CAREY
     CASE NO:                                                   WILLIAMS & NEIDZWSKI
     PAGE - 3                                                    21 Bellwether Way, Suite 104
                                                                Bellingham, Washington 98225
                                                             (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 4 of 10



1                  d.      Failing to provide a seaworthy vessel and a safe method of
2
                           operation;

3                  e.      Failing to provide Plaintiff with a safe place in which to
4
                           work;

5                  f.      Failing to promulgate and enforce proper and safe rules of
                           seamanship in the supervision and conduct of the work;
6

7                  g.      Failing to provide sufficient and competent officers and co-
                           employees;
8

9                  h.      Failing to supply proper gear and equipment, including rigging, and
                           to maintain the same in proper order;
10

11                 i.      Violating safety regulations, including, but not limited to, the
                           following: 29 C.F.R. § 1926.1437, 29 C.F.R. § 1917.45, 29 C.F.R. §
12                         1915.115, 29 C.F.R. § 1915.112, and 29 C.F.R. § 1915.113.
13
                   j.     Otherwise acting so negligently as to cause injury to Plaintiff as set
14                        forth above in Paragraph 9.
15
            14.    As a result of said conduct, Plaintiff was hurt and injured in his health,
16

17
     strength, and activity, sustaining injuries to, inter alia, his neck and back, all of which

18   said injuries have caused and continue to cause Plaintiff great mental, physical and
19
     nervous pain and suffering, and said injuries have resulted in significant permanent
20
     disability to Plaintiff, all to his general damage according to proof.
21

22          15.    As a further result of said conduct, Plaintiff was required to and did employ
23
     physicians and other health care providers for medical examination, care and treatment of
24
     said injuries, and Plaintiff alleges that he may require such services in the future. The
25

26   cost and reasonable value of the health care services received and to be received by

27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                      ANDERSON CAREY
     CASE NO:                                                    WILLIAMS & NEIDZWSKI
     PAGE - 4                                                      21 Bellwether Way, Suite 104
                                                                  Bellingham, Washington 98225
                                                               (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 5 of 10



1    Plaintiff is presently unknown to him, and Plaintiff prays for leave to insert the elements
2
     of damages in this respect when the same are finally determined.
3
            16.    As a further result of said conduct, Plaintiff has suffered and will continue
4

5    in the future to suffer loss of income in a presently unascertained sum, and Plaintiff prays
6
     for leave to insert the elements of damage in this respect when the same are finally
7
     determined.
8

9                                      SECOND CLAIM:
                                      UNSEAWORTHINESS
10

11          17.    Plaintiff realleges and incorporates herein by reference paragraphs 1

12   through 16 set forth above.
13
            18.    On or about May 31, 2020, while Plaintiff was engaged in the course of his
14

15
     duties as a deckhand in the service of the BERING STAR, the said vessel was

16   unseaworthy in that, among other things:
17
                   a.     Said vessel and her appurtenances were being operated in such a
18                        manner as to unreasonably endanger Plaintiff’s safety;
19
                   b.     Said vessel and her appurtenances were in a dangerous, defective
20                        and hazardous condition;
21
                   c.     The place where Plaintiff was required to work was unsafe;
22
                   d.     Sufficient and competent officers and co-employees were lacking;
23

24                 e.     Sufficient gear and equipment, including rigging, in proper working
                          order were lacking;
25

26                 f.     Work in progress was being conducted by unsafe methods without
                          sufficient and properly trained personnel and without adequate
27                        supervision;
28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                     ANDERSON CAREY
     CASE NO:                                                   WILLIAMS & NEIDZWSKI
     PAGE - 5                                                    21 Bellwether Way, Suite 104
                                                                Bellingham, Washington 98225
                                                             (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 6 of 10



1                  g.     Workplace safety regulations pertaining to the vessel’s crane and
2
                          rigging were violated, including, but not limited to, the following: 29
                          C.F.R. § 1926.1437, 29 C.F.R. § 1917.45, 29 C.F.R. § 1915.115, 29
3                         C.F.R. § 1915.112, and 29 C.F.R. § 1915.113.
4
                   h.     The said vessel was otherwise so unseaworthy as to cause injury to
5                         Plaintiff as set forth above in Paragraph 9.
6
                                       THIRD CLAIM:
7                                  MAINTENANCE AND CURE
8
            19.    Plaintiff realleges and incorporates herein by reference paragraphs 1
9
     through 18 set forth above.
10

11          20.    Upon Plaintiff becoming injured and disabled as aforesaid, it became the

12   duty of Defendant to apprise Plaintiff of his right to seamen’s benefits and to pay to
13
     Plaintiff the expenses of his maintenance and cure, as well as his wages to the end of the
14

15
     contemplated period of employment, but Defendant unreasonably, willfully, wantonly,

16   and recklessly neglected to do so, despite knowledge of Plaintiff’s continuing disability
17
     and Plaintiff’s medical providers’ recommendations regarding same.
18
            21.    By reason of the premises, Plaintiff has been damaged in sums according to
19

20   proof for past and future maintenance and cure, and unearned wages, the precise amounts
21
     of which are presently unascertained, and Plaintiff prays leave to insert the elements of
22
     damages in this respect when the same are finally determined.
23

24          22.    By reason of said unreasonable, wanton and willful disregard of Plaintiff’s

25   right to maintenance and cure, Plaintiff was forced to engage the services of counsel and
26

27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                    ANDERSON CAREY
     CASE NO:                                                  WILLIAMS & NEIDZWSKI
     PAGE - 6                                                    21 Bellwether Way, Suite 104
                                                                Bellingham, Washington 98225
                                                             (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 7 of 10



1    has incurred and will continue to incur attorneys’ fees and expenses for which Plaintiff is
2
     entitled to recover.
3

4
                                        FOURTH CLAIM:
                                  §905(b) VESSEL NEGLIGENCE
5
            23.    Plaintiff realleges and incorporates herein by reference paragraphs 1
6

7    through 9 set forth above.
8
            24.    This alternative cause of action arises under 33 U.S.C. § 905(b), under
9
     which Defendant owed Plaintiff a duty of reasonable care. Jurisdiction for this claim is
10

11   conferred to this District Court pursuant to 28 U.S.C. § 1333 in that the maritime tort

12   occurred on the navigable waters of the United States and bore a significant relationship
13
     to traditional maritime activity. Plaintiff, however, does not make the Federal Rule Civil
14

15
     Procedure 9(h) designation for any of the claims asserted herein.

16          25.    On or about May 31, 2020, while Plaintiff was engaged in the course of his
17
     duties aboard the BERING STAR, Defendant was negligent in its capacity as vessel
18
     owner, among other things, in:
19

20                 a.       Failing to turn over the vessel, including its equipment and
                            appurtenances, in a reasonably safe condition;
21

22                 b.       Failing to mitigate a hazard Defendant knew or should have known
                            Plaintiff was likely to confront in his work and endeavor to work
23
                            through;
24
                   c.       Failing to intervene for the protection of Plaintiff despite the
25                          Defendant’s knowledge that the operation posed an unreasonable
26                          risk of harm to Plaintiff and despite Defendant’s knowledge that
                            adequate measures were not being taken to protect Plaintiff from the
27                          hazard Defendant helped to create;
28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                      ANDERSON CAREY
     CASE NO:                                                    WILLIAMS & NEIDZWSKI
     PAGE - 7                                                      21 Bellwether Way, Suite 104
                                                                  Bellingham, Washington 98225
                                                               (360) 671-6711 - Fax (360) 647-2943
              Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 8 of 10



1

2
                   d.      Failing to exercise due care for Plaintiff as set forth in paragraph 13
                           above, despite Defendant’s active control of the vessel.
3

4
                   e.      Failing to exercise due care for Plaintiff as set forth in paragraph 13
                           above, despite Defendant’s active involvement in the vessel’s
5                          operations.
6
            26.    As a result of said conduct, Plaintiff was hurt and injured in his health,
7
     strength, and activity, sustaining injuries to, inter alia, his neck and back, all of which
8

9    said injuries have caused and continue to cause Plaintiff great mental, physical and
10
     nervous pain and suffering, and said injuries have resulted in significant permanent
11
     disability to Plaintiff, all to his general damage according to proof.
12

13          27.    As a further result of said conduct, Plaintiff was required to and did employ

14   physicians and other health care providers for medical examination, care and treatment of
15
     said injuries, and Plaintiff alleges that he may require such services in the future. The
16

17
     cost and reasonable value of the health care services received and to be received by

18   Plaintiff is presently unknown to him, and Plaintiff prays for leave to insert the elements
19
     of damages in this respect when the same are finally determined.
20
            28.    As a further result of said conduct, Plaintiff has suffered and will continue
21

22   in the future to suffer loss of income in a presently unascertained sum, and Plaintiff prays
23
     for leave to insert the elements of damage in this respect when the same are finally
24
     determined.
25

26

27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                      ANDERSON CAREY
     CASE NO:                                                    WILLIAMS & NEIDZWSKI
     PAGE - 8                                                      21 Bellwether Way, Suite 104
                                                                  Bellingham, Washington 98225
                                                               (360) 671-6711 - Fax (360) 647-2943
                  Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 9 of 10



1           WHEREFORE, Plaintiff prays for judgment against defendant Bering Star, LLC,
2
     as follows:
3
            i.        With respect to Plaintiff’s First Claim and Second Claim:
4

5                     a.    General damages according to proof;
6
                      b.    All past and future expenses for health care providers according to
7                           proof;
8
                      c.    Loss of income, past and future, according to proof;
9
                      d.    Plaintiff’s costs and disbursements incurred herein;
10

11                    e.    Prejudgment and post-judgment interest according to general
                            maritime law; and
12

13                    f.    For such other and further relief as this District Court deems just and
                            fair.
14

15
            ii.       On Plaintiff’s Third Claim:

16                    a.    Maintenance, cure and unearned wages according to proof;
17
                      b.    Plaintiff’s reasonable attorney’s fees;
18
                      c.    Plaintiff’s costs and disbursements incurred herein;
19

20                    d.    Punitive damages according to general maritime law;
21
                      e.    Prejudgment and post-judgment interest according to general
22                          maritime law; and
23
                      f.    For such other and further relief as this District Court deems just and
24                          fair.

25          iii.      On Plaintiff’s Fourth Claim:
26
                      a.    General damages according to proof;
27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                       ANDERSON CAREY
     CASE NO:                                                     WILLIAMS & NEIDZWSKI
     PAGE - 9                                                       21 Bellwether Way, Suite 104
                                                                   Bellingham, Washington 98225
                                                                (360) 671-6711 - Fax (360) 647-2943
            Case 2:21-cv-01475-JHC Document 1 Filed 10/29/21 Page 10 of 10



1                 b.     All unpaid and future expenses for health care providers according
2
                         to proof;

3                 c.     Loss of income, past and future, according to proof;
4
                  d.     Plaintiff’s costs and disbursements incurred herein;
5
                  e.     Prejudgment and post-judgment interest according to general
6
                         maritime law; and
7
                  f.     For such other and further relief as this District Court deems just and
8
                         fair.
9

10

11                                      ANDERSON CAREY WILLIAMS & NEIDZWSKI

12                                      /s/ Douglas R. Williams                                     .
13                                      DOUGLAS R. WILLIAMS, WSBA #43823
                                        21 Bellwether Way, Suite 104
14                                      Bellingham, WA 98225
15
                                        Telephone: 360-671-6711
                                        Facsimile: 360-647-2943
16                                      E-mail: doug@boatlaw.com
17
                                        Attorneys for Plaintiff

18

19

20

21
                                         JURY DEMAND
22
          Plaintiff demands trial by jury of all issues in this cause.
23

24

25

26

27

28
     COMPLAINT FOR MARITIME PERSONAL INJURIES                     ANDERSON CAREY
     CASE NO:                                                   WILLIAMS & NEIDZWSKI
     PAGE - 10                                                    21 Bellwether Way, Suite 104
                                                                 Bellingham, Washington 98225
                                                              (360) 671-6711 - Fax (360) 647-2943
